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                         IN THE UNITED STATES BANKRUPTCY COURT
                              FOR THE DISTRICT OF DELAWARE

                                                                 Chapter 11
    In re:
                                                                 Case No. 23-11069 (CTG)
                                             1
    YELLOW CORPORATION, et al.,
                                                                 (Jointly Administered)
                   Debtors.
                                                                 Objection Deadline:
                                                                 January 2, 2024 at 4:00 p.m. (ET)

           SUMMARY COVER SHEET OF THIRD MONTHLY APPLICATION
         OF ALVAREZ & MARSAL NORTH AMERICA, LLC FOR ALLOWANCE
         OF COMPENSATION AND REIMBURSEMENT OF EXPENSES FOR THE
        PERIOD FROM OCTOBER 1, 2023 TO AND INCLUDING OCTOBER 31, 2023

    Name of Applicant:                                          Alvarez & Marsal North America, LLC

    Authorized to Provide Professional Services to:             Debtors and Debtors in Possession

    Date of Retention:                                          Effective as of the Petition Date

    Period for Which Compensation and
    Reimbursement Are Requested:                                October 1, 2023 – October 31, 2023

    Amount of Compensation Requested:                           $1,305,453.60 (80% of $1,631,817.00)

    Amount of Expense Reimbursement Requested:                  $9,849.38


This is a(n): monthly         x    interim          final application




1
         A complete list of each of the Debtors in these chapter 11 cases may be obtained on the website of the
Debtors’ claims and noticing agent at https://dm.epiq11.com/YellowCorporation. The location of the Debtors’
principal place of business and the Debtors’ service address in these chapter 11 cases is: 11500 Outlook Street, Suite
400, Overland Park, Kansas 66211.
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                                 PRIOR MONTHLY APPLICATIONS FILED


                                        Requested                        Approved                    Outstanding
       Date Filed;     Period        Fees         Expenses            Fees        Expenses         Fees       Expenses
       Docket No.    Covered
                      8/7/2023
       9/29/2023;
                      through    $2,273,977.00   $52,658.82       $1,819,181.60   $52,658.82   $454,795.40         $0.00
        D.I. 693
                     8/31/2023
                      9/1/2023
       11/13/2023;
                      through    $1,984,540.00   $26,319.26       $1,587,632.00   $26,319.26   $396,908.00         $0.00
        D.I. 1132
                     9/30/2023

       Total                     $4,258,517.00   $78,978.08       $3,406,813.60   $78,978.08   $851,703.40         $0.00




                         COMPENSATION AND HOURS BY PROFESSIONAL


                           COMPENSATION AND HOURS BY PROFESSIONAL
                           FOR ALVAREZ & MARSAL NORTH AMERICA, LLC
                                October 1, 2023 through October 31, 2023
                                                                                   BILLING          TOTAL            TOTAL
 PROFESSIONAL               POSITION                     GROUP
                                                                                    RATE            HOURS             FEES
Cumberland, Brian        Managing Director       Compensation & Benefits               $1,320.00            4.1         $5,412.00
Whittman, Brian          Managing Director       Restructuring                         $1,275.00           74.8        $95,370.00
Hertzberg, Julie         Managing Director       Case Management                       $1,250.00           44.2        $55,250.00
Herriman, Jay            Managing Director       Case Management                       $1,100.00           24.4        $26,840.00
Leto, Michael            Managing Director       Restructuring                         $1,100.00          115.7       $127,270.00
Yudell, Vance            Senior Director         Compensation & Benefits               $1,045.00            7.6         $7,942.00
Donoghue, Doug           Senior Director         Restructuring                          $875.00            81.2        $71,050.00
Rodriguez, Carlos        Director                Restructuring                          $800.00           191.6       $153,280.00
Country, Robert          Director                Case Management                        $775.00             143       $110,825.00
Hsu, Victor              Director                Restructuring                          $775.00           203.2       $157,480.00
Walsh, Ryan              Director                Restructuring                          $775.00           148.2       $114,855.00
Bapna, Rishabh           Manager                 Compensation & Benefits                $770.00             4.9         $3,773.00
Giordano, Greg           Senior Associate        Restructuring                          $675.00           183.6       $123,930.00
Gross, Andrew            Associate               Restructuring                          $600.00           158.4        $95,040.00
Shah, Rushabh            Associate               Case Management                        $600.00           126.0        $75,600.00
Gudeman, Brian           Analyst                 Restructuring                          $500.00           165.4        $82,700.00
Sethna, Kayo             Analyst                 Restructuring                          $475.00           135.6        $64,410.00
Callan, Baylee           Analyst                 Case Management                        $425.00             115        $48,875.00
Chapman, Jourdan         Analyst                 Case Management                        $425.00           153.3        $65,152.50
Dugoff, Matthew          Analyst                 Restructuring                          $425.00           167.4        $71,145.00
Yao, Jocelyn             Analyst                 Case Management                        $425.00           100.1        $42,542.50

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  Daniel, Adriana             Analyst                 Case Management                         $400.00        78.3       $31,320.00
  Rivera-Rozo, Camila         Para Professional       Restructuring                           $325.00         5.4        $1,755.00

  Total                                                                                                    2,431.4   $1,631,817.00

                                                                      Blended Rate:                                         671.14




                                   COMPENSATION BY PROJECT CATEGORY

                                    COMPENSATION BY PROJECT CATEGORY
                                 FOR ALVAREZ & MARSAL NORTH AMERICA, LLC
                                      October 1, 2023 through October 31, 2023
                                                                                                          Total      Total Fees
      Task Code                                           Description
                                                                                                          Hours      Requested
                        Advise and assist the Debtors on matters concerning operating the business
                        under Chapter 11 including accounting cutoff, development and execution of
                        work plans, review of court documents and general case management,
BANKRUPTCY                                                                                                 192.6       $150,700.00
                        reporting requirements, and support counsel and others for Chapter 11 related
                        items; communications; other general administrative tasks related to any Ch.
                        11 proceeding specific to Debtor's enterprise.
                        Assist the Debtors with the 13 week cash flow forecast, plan versus actual, DIP
CASH                                                                                                       323.7       $189,057.50
                        reporting requirements, covenant compliance, and other financial analyses.
                        Assist the Debtors with claims planning process, review of claims filed against
CLAIMS                  the Debtors', claim reconciliation, and related work including submission of       724.2       $419,262.50
                        related motions to the court.
CONTRACT                Assist the Debtors with contract analyses and the potential assumption or
                                                                                                            76.6        $53,445.00
                        rejection of contracts.
                        Address information requests from, and attend meetings and calls with, various
CREDITORS                                                                                                  161.1       $122,215.00
                        constituencies including lenders, unsecured creditors committee, and advisors.
                        Employee matters including negotiation and implementation of the wages
EMPLOYEES                                                                                                   52.5        $40,857.00
                        order, reductions in force, severance and other compensation analysis.
                        Prepare the month and interim fee applications in accordance with Court
FEE APP                                                                                                     16.6         $6,620.00
                        guidelines.
FINANCIAL               Ad-hoc financial analyses made at the request of various constituencies,
                                                                                                           458.0       $310,642.50
ANALYSIS                including the Debtor.
                        Assist the Debtors with the preparation of the Initial Debtor Interview
MOR                     requirements, Monthly Operating Report, preparing for and attending the 341         61.9        $40,397.50
                        meeting of creditors and other related matters for the US Trustee.
                        Complete analyses and assist the Debtors on various motions filed, and on
MOTIONS/ORDERS          entry of Orders to implement required reporting and other activities                30.6        $20,367.50
                        contemplated by the various filed motions.
                        Complete analysis and assist the Debtors with the Plan of Reorganization and
PLAN OF
                        Disclosure Statement; assist the Debtors with preparation of the Liquidation         2.6         $1,637.50
REORGANIZATION
                        Analysis.
RETENTION               Prepare documents in compliance with Court retention requirements.                   7.3         $4,830.00
SALE                    Assist with the sale of the Debtors Assets.                                         97.4        $87,520.00


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                  Prepare for and participate in the Debtors regular status meetings including
STATUS MEETINGS   Board of Directors meetings, update meetings with management, and strategic          114.4       $103,772.50
                  meetings with Debtor counsel and advisors.
TRAVEL            Billable travel time (reflects 50% of time incurred).                                 15.2        $13,080.00
                  Assist the Debtors with all vendor related items including, but not limited to
                  vendor strategy, negotiation, settlements, stipulations, critical vendors and
VENDOR                                                                                                  96.7        $67,412.50
                  shippers/warehouseman agreements, and advising Debtors' on general
                  accounts payable questions.

Total                                                                                              2,431.4     $   1,631,817.00

                                                                                   Blended Rate:                       $671.14




                                         EXPENSES BY CATEGORY



                                          EXPENSES BY CATEGORY
                             FOR ALVAREZ & MARSAL NORTH AMERICA, LLC
                                     October 1, 2023 through October 31, 2023
                          Expense Category                      Amount
                         Airfare                                          3,207.17
                         Lodging                                          3,335.80
                         Meals                                              558.96
                         Miscellaneous                                      581.66
                         Transportation                                   2,165.79
                         Total                   $                       9,849.38




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                        IN THE UNITED STATES BANKRUPTCY COURT
                             FOR THE DISTRICT OF DELAWARE

                                                                 Chapter 11
    In re:
                                                                 Case No. 23-11069 (CTG)
    YELLOW CORPORATION, et al.,1
                                                                 (Jointly Administered)
                    Debtors.
                                                                 Objection Deadline:
                                                                 January 2, 2024 at 4:00 p.m. (ET)

                      THIRD MONTHLY APPLICATION OF
           ALVAREZ & MARSAL NORTH AMERICA, LLC FOR ALLOWANCE
         OF COMPENSATION AND REIMBURSEMENT OF EXPENSES FOR THE
        PERIOD FROM OCTOBER 1, 2023 TO AND INCLUDING OCTOBER 31, 2023


             Alvarez & Marsal North America, LLC (“A&M”), financial advisors for YELLOW

Corporation and its affiliated debtors and debtors-in-possession in the above-captioned Chapter 11

Cases (collectively, the “Debtors”), hereby submits this Third monthly application (this

“Application”) for compensation for professional services rendered and expenses incurred for the

period from October 1, 2023 to and including October 31, 2023 (the “Fee Period”). In support of

this Application, A&M respectfully represents as follows:

                                               BACKGROUND

                   1.      On August 6, 2023 (the “Petition Date”), the Debtors commenced with the

Court voluntary cases (the “Chapter 11 Cases”) under chapter 11 of the Bankruptcy Code. The

Debtors are authorized to continue operating their businesses and managing their properties as

debtors in possession pursuant to sections 1107(a) and 1108 of the Bankruptcy Code. No trustee,

examiner, or statutory committee has been appointed in the Chapter 11 Cases


1
         A complete list of each of the Debtors in these chapter 11 cases may be obtained on the website of the
Debtors’ claims and noticing agent at https://dm.epiq11.com/YellowCorporation. The location of the Debtors’
principal place of business and the Debtors’ service address in these chapter 11 cases is: 11500 Outlook Street, Suite
400, Overland Park, Kansas 66211.
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       2.      On August 16, 2023, the Office of the United States Trustee for the District of

Delaware (the “U.S. Trustee”) appointed a Committee of Unsecured Creditors (the “Committee”)

[D.I. 269].

       3.      On September 1, 2023, the Court entered the Order (I) Establishing Procedures for

Interim Compensation and Reimbursement of Expenses of Professionals and (II) Granting Related

Relief [D.I. 398] (the “Interim Compensation Order”).

       4.      On September 18, 2023, the Court entered the Order (I) Authorizing Debtors to

Employ and Retain Alvarez & Marsal North America, LLC as Financial Advisors to Debtors and

Debtors In Possession Pursuant To Sections 327(a) And 328 of the Bankruptcy Code, and (II)

Granting Related Relief [D.I. 585], authorizing the retention and employment of A&M as Debtors’

financial advisors, nunc pro tunc to August 6, 2023.

                                    RELIEF REQUESTED

       5.      By this Application, in accordance with the Interim Compensation Order, A&M

requests payment in the aggregate amount of $1,315,302.98, which is equal to (a) 80% (i.e.,

$1,305,453.60) of the $1,631,817.00 of total compensation earned by A&M during the Fee Period

for its services to the Debtors and (b) 100% of the $9,849.38 of necessary expenses incurred by

A&M during the Fee Period in connection with its services to the Debtors.

                           SUMMARY OF SERVICES RENDERED

       6.      Attached hereto are the following schedules for compensation sought by A&M for

the Fee Period:

               Exhibit A     Summary of Time Detail by Task

               Exhibit B     Summary of Time Detail by Professional

               Exhibit C     Summary of Time Detail by Task by Professional

               Exhibit D     Time Detail by Activity by Professional
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       7.      Exhibits A–D are detailed statements of the time expended and compensation

earned by A&M during the Fee Period. A&M’s professionals expended a total of 2,431.4 hours

in connection with these Chapter 11 Cases during the Fee Period. All services for which A&M is

requesting compensation were performed for or on behalf of the Debtors. The services rendered

by A&M during the Fee Period are categorized as set forth in Exhibits A–D and in the summary

cover sheets prefixed to this Application. The professionals who provided services to the Debtors

during the Fee Period are also identified in Exhibits A–D and in the summary cover sheets.

                           ACTUAL AND NECESSARY EXPENSES

      8.       Attached hereto are the following schedules for reimbursement of expenses sought

by A&M for the Fee Period:

               Exhibit E       Summary of Expense Detail by Category

               Exhibit F       Expense Detail by Category Professional

      9.        A&M incurred certain necessary expenses during the Fee Period for which it is

entitled to reimbursement under the terms of its retention. As set forth in greater detail in Exhibits

E–F, A&M’s total expenses incurred during the Fee Period are $9,849.38.

      10.      A&M does not charge for photocopying, printing, or outgoing domestic facsimiles

or incoming facsimiles.

                                 VALUATION OF SERVICES

       11.     The hourly rates reflected on Exhibits A–D are A&M’s customary hourly rates for

work of this character. The reasonable value of the services rendered by A&M for the Fee Period

as financial advisors to the Debtors in these Chapter 11 Cases is $1,631,817.00.

       12.     In accordance with section 330 of the Bankruptcy Code, the fees requested are

reasonable in light of factors including, among other things, (a) the complexity of these Chapter



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11 Cases, (b) the time expended, (c) the nature and extent of the services rendered, (d) the value

of such services, and (e) the costs of comparable services other than in a case under this title.

       13.     Although A&M has made every effort to include all fees and expenses incurred

during the Fee Period in this Application, some fees and expenses might have been omitted from

this Application due to delays caused by accounting and processing during the Fee Period. A&M

reserves the right to submit further applications to the Court for allowance of such fees and

expenses not included herein. Subsequent fee applications will be filed in accordance with the

requirements of the Bankruptcy Code, the Bankruptcy Rules, the Local Rules, and the

Compensation Procedures Order.

                            CERTIFICATION OF COMPLIANCE

       14.     The undersigned has reviewed the requirements of Local Rule 2016-2 and certifies

that, to the best of his knowledge, information and belief, this Application complies with the

requirements of that Local Rule.

                           [Remainder of Page Intentionally Left Blank]




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       WHEREFORE, A&M requests payment in the aggregate amount of $1,315,302.98, which

is equal to (a) 80% (i.e., $1,305,453.60) of the $1,631,817.00 of total compensation earned by

A&M during the Fee Period for its services to the Debtors and (b) 100% of the $9,849.38 of

necessary expenses incurred by A&M during the Fee Period in connection with its services to the

Debtors, for a total interim award of $1,641,666.38.


 Dated: December 12, 2023                           Respectfully submitted,

                                                    ALVAREZ & MARSAL NORTH
                                                    AMERICA, LLC

                                                    /s/ Brian Whittman
                                                    Brian Whittman
                                                    Managing Director
                                                    540 W. Madison, Suite 1800
                                                    Chicago, Illinois 60661
                                                    Telephone: (312) 601-4227

                                                    FINANCIAL ADVISORS FOR THE
                                                    DEBTORS AND DEBTORS IN
                                                    POSSESSION




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